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IN THE UNITEI} STATES DISTRICT COURT
NORTHERN DISTRIC_T OF ILLINOIS, WESTERN`DIVISION;'§ 1"“§`¢=’3_ "13 §-l §1-§ §@-: f §

LAURIE RAYMOND, d/b/a A-l TOWING,
P_1aimiff,

v. No. 03 C 50195
ROD R. BLAGOJEVICH, as Governor of

.the State of Illinois, and ILLINOIS COMMERCE
COMMISSION, EDWARD C. HURLEY, as
Chairman of the Illinois Commerce Commission,
LULA M. FORD, MARY FRANCES SQUIRES,
KEVIN K. WRIGHT and ERlN O’CONNELL-
DIAZ, all in their capacity as Commissioners of
the Illinois Commerce Commission; and SCOTT
WISEMAN, as Executive Dirécto'r of the Illinois
Commerce Commission,

The Honorable Philip G. Reinhard

V\,/\_/\-./\_/\¢/\_/\_/\\_/\_/\¢/\,/\-_/\_/\-.V\_/\`/\_/

Defendants.

DEFENDAN'I`S’ RESPONSE TO PLAINTIFFS’ MOTION
FOR A TEMPORARY RESTRAINING OR])ER

LISA MADIGAN '
IIlinois Attorney General DEBORAH L-. SIMPSON
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STATUTES;

Il]inois Commercial Relocation of Trespassing Vehicles Law,
625 ILCS 5/18a-100 et seg.

6251LCS 5/18@-101
625 ILCS 5/18a-700(a).
Federal Preemption Statute 49 U.S.C. §14501(<:)(1) and (2).

H.R. Conf. Rep. No. 103-677', at 86-87, reprinted in
1994 U.S.C.C.A.N. at 1758~59. . _

- CASES:

Ace Auto Boa’y & Towing, Ltd. v. sz‘y ofNew York 171 F.3d 765, l
(C.A.2 U.Y.),1999). . ' . . . . '

Abbort Labs. v. Mead-Johnson & Co., 971 F.2d 6, 11-12 (7th Cir.1992).
Duct-O- Wire Co. v. U.S. Crane, Inc. 31 F.3d 506, 508 (C.A.7 (Wis.),1994).
Medtrom`c, Inc. v. Lohr, 518 U.S. 470, 484, (1996). .

Passon v. TCR, Inc., 242 lll.App.Bd 259 (Z“d Dist. 1993).

People ex rel. Renne v. Servantes, 103 Cal. Rptr. 2d 870, 878 (Cal. Ct. App.),
petition for cert. filed, 70 U.S.L.W. 3162 (U.S. Aug. 14, 2001) (No. 01- 336).

Refal`l Clerks Im"l Ass'n, Local 1625 v. Schei”merhorn, 375 U.S. 96, 103, (1963).
Rz'ce v. Sant_a Fe Elevator Corp., 331 U.S. 218, 230, (1947).

Sz‘anton v. City of Chz`éago, 17 llI.App.3d 519, 523 (1St Di_St. 1988).

Stoi‘ck USA L.P v. Farley Candy Co., 14 F.3d 311, 313-314 (7th Cir.1994).

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I'N TH'E UNiTED sTATEs DISTRICT coURT '
NoRTHERN I)IsTR_IcT 0F ILLINors, WESTERN DIV_ISION

LAURIE RAYMOND, dfb/a A-l TOW[NG, `
Plaintiff,

v. No. 03 C 50195

ROD R. BLAGOJEVICH, as Governor of The Honorable Philip G. Reinhard
the State of Illinois, and ILLINOIS COMMERCE
COMMISSION, EDWARD C. HURLEY, as
Chairman of the Illinois Commerce Commission, _
LULA M. FORD, MARY FRANCES SQUIRES,
KEVIN K. WRIGHT and ERIN O’CONNELL- `
DLAZ, all in their capacity as Commissioners of
the Illinois`Comrnerce Comrnission; and SCOTT
WISEMAN, as Executive Director of the Illinois
Commerce Commission,

\.,/\._/\._/\_J\._/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\./\_/

Defendants.
DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MO'I`ION
FOR A TEMPORARY RESTRAINING ORDER
NOW COMES the Defendants, ROD R. BLAGOIEVICH, as Governor of the State of
`Illinois, and the ILLINOIS COMMERCE COMMISSION, EDWARD C. HURLEY, as
Chairman of the Illinois Cornmerce Commission, by their attorney, LISA _MADIGAN, 111inois
Attorney General, through Assistant Attorney General Deborah L. Simpson and herehy submit
their Response to the Plaintiffs’ Motion for a Temp-orary Restraining Order.
I. INTRODUCTION
In 1978, the Gener_al Assemhly passed Public Act 76-1586, the IIlinois Commercial
Relocation of Trespassing Vehicles Lavv, 625 ILCS 5/18a-100 M. Which Was effective

January 1, 1979 and vested the power and authority to administer and to enforce the provisions of

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this Chapter in the Illinois Commerce Commission. 625 ILCS 5/18a-101. This Public Act
applied specifically to counties in excess of 1|,000,000 but could be adopted by counties of less
than 1,000,000. 625 lLCS 5/18a~700(a). Until May 1, 2003 the statute applied in Cool< County,
Which has a population of 1,000,000 or more, as Well as Du Page, Kane and Will Counties by
adoption Wiimebago Coiinty recently adopted the statute and it became effective in Winnebago
County on May 1, 2003.

On May 12, 2003, Plaintiff filed a Complaint for Declaratoi'y and Injunctive Relief and a
separate Motion for a Temporary Restraining Order. The Complaint'filed by the Plaintiff named
the “State of Il`linois” as the only Defendant. On May 14, 2003 Plaintiff filed a Written motion,
seeking leave of Court to file an amended complaint and-motion changing the Defendant, with
this motion being granted by the Court. On May 15, 2003, the Plaintiff filed an amended
complaint and an amended motion naming “Rod R. Blagojevich, as Governor of the State of
Illinois” and lllinois Commerce Commission, `Edward C. Hurley, as Chairman of the lllinois _
Commerce Commission, Lula M. Ford, Mary Frances Squires, Kevin K. Wright and Erin
lO’Connell~Diaz, all in their capacity as Commissioners of the lllinois Commerce Commission
and Scott Wiseman, as Executive Director of the Illinois Commerce Commission, as the
Defendants. Governor Blagojevich is named as a Defendant solely in his official capacity as
Governor of the State of lllinois.

Plaintiff’s complaint for declaratory and injunctive relief seeks (1) a declaration that the
“Commercial Relocation of Trespassing Vehicles Law, specifically the sections described by the
Plaintiff in paragraphs 9, 10, and 18~22 as Well as any other sections of the statute that have the

force and effect of law, relating to the price, route or service a motor carrier may engage in or

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provide are preempted by 49 U.S.C. §14501(0)(1) and (2);” (2) issue a preliminary and
permanent injunction enjoining and restraining the Defendants from enforcing any provisions of
the said Illinois Commercial Relocation of Trespassing Vehicles Law, to the extent that the
statute regulates and limits Plaintiff’ S ability to engage in the service of towing vehicles which
n illegally park on private property; (3) award Plaintiffs her reasonable court costs and attorneys
fees; (4) award money damages to Plaintiff and (5) award Plaintiff such other relief as the Court
l deems proper. nn
Additionally, Plaintiff filed a motion for temporary restraining order and
preliminary injunction For the following reasons, Plaintiff’s motion should be denied
On May 23, 2003, Defendarit Governor Blagojevich filed a Motion to Dismiss
Plaintiff’s Complaint which is scheduled to be`heard contemporaneously with the motion for the

Temporary Restraining Order.

II. STANDARD OF REVIEW
n A district court has considerable discretion-in deciding whether to grant or deny a
l motion for a preliminary injunction Duct~O-Wire Co. v. U.S. Crane, Inc. 31 F.3d 506, 508
(C.A.7 (Wis.),1994) 'A district court may grant a preliminary injunction if the party seeking relief
. can show (1) that the case has some likelihood of success on the merits; (2) that no adequate
remedy at law exists; and (3) that the party seeking relief Will suffer irreparable harm if the
injunction is not granted Storck USA L.P v. Farley Candy Co., 14 F.3d 311, 313-314 (7th
Cir.1994). If the moving party satisfies these conditions, then the court must balance the harm to

the nonmoving party if relief is granted. Id. at 314. This balancing involves what the Court has

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termed a "sliding scale" analysis: the greater the moving party's chance of success on the merits,
the less strong a showing mustlit make that the balance of harms is in its favor; conversely, the
less likely it is that the moving party will Succeed on the merits, the more the balance need weigh
towards its side. Abbott Labs. v. Mead-Johnson & Co., 971 F.2d 6, 11-12 (7th Cir.1992)§ The
court must also consider the public interest in terms of the consequences of granting or denying
an injunction to non-parties. Storck USA,` 14 F.3d at 314.

In the case before this Court, the question involves the viability of a state statute,
and an interpretation of whether specific regulations enunciated by the statute can be considered
as safety regulations Where, as with 49 U.S.C. § 145 01(0), a federal statute expressly preempts
state or local laW, "analysis'of the scope of the pre-emption statute must begin with its text."
Medtronic, Inc. v. Lohr, 518 U.S. 470, 484, (1996). And, we must also "start with the assumption
that the historic police powers of the States [are] not to be superseded unless that was the clear
land manifest purpose of Congress." ld. at 485, (quoting llilz'ce v. Santa Fe Elevator Corp., 331
U.S. 218, 230, (1947)). As such, Congress' purpose is the "ultimate_touchstone" of preemption
analysis. ld. (quoting Retai`l Clerk.s Im‘_’l Ass'n, Local 1625 v. Schermerhorn, 375 U.S. 96, 103,
(1963)).

`iii. ARGUMENT

This court should deny Plaintiff’s motion for failure to make the requisite showing
necessary for a TRO. The purpose of a temporary restraining order is to preserve the status quo
for a short duration until the court has time to hear evidence for a preliminary injunction Passon
v. TCR, Inc., 242 Ill.App.3d 259 (2-““1 Dist. 1993). A temporary restraining order is an emergency

remedy issued upon a summary showing of the necessity of the_order to prevent immediate and

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irreparable harin. Stanton v. Ciiy of Chi'cago, 17 Ill.App.3d 519, 523 (ls‘ Dist. 1988). For a TRO
to issue, the movant must have a verified complaint factually stating a cause of action for
injunctive relief and also show (1) that the case has some likelihood of success on the merits; (2)
that no adequate remedy at law exists; and (3) that the party seeking relief will suffer irreparable
harm if the injunction is not granted. Storck USA L.P v. Farley Candy Co., 14 F.3d 311, 313-314
(7th Cir.1994).
1. - - Plaintiff Does Not Have a Likelihood of Success on the Merits.

ln preserving the "safety regulatory authority of a State" with respect to the
intrastate regulation of motor carriers, Congress not only chose to remove safety regulations from
the preemptive reach of § l4501(c)(l) but also preserved the traditional power of Stat-es, to
choose how, when and where that safety authority was exercised--whether through laws enacted
by state legislatures, regulations promulgated by executive-branch state agencies, ordinances
passed by local governments, or by some combination of the above. The precise issue before the
Court is whether the Illinois Commercial Relocation of Trespassing Yehicle Laws, found at 625
lLCS 5/18a-100 et seq. are properly characterized under § l4501(c) as safety regulations or as
‘ economic regulations

ln Ace Auto Body & Towi'ng, Ltd. v. City of New York 171 F.3d 765, (C.A.2
(N.Y.),l999) the Court was wrestling with similar issues. In addition to the question of rotating
which towing company would be dispatched, to eliminate “chasing” the parties also challenged
specific requirements regarding licensing, display of information, reporting, record keeping,
criminal history, insurance, posting of bond, and maintenance of storage and repair facilities

The Court found that:

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Guided by this precedent,

[to overcome the anti-preemption presumption, a

party challenging a statute must convince a court that

there is something in the practical operation of the

challenged statute to indicate that it is the type of law

that Congress specifically aimed to have [ERISA]

supersede Ace Auto Body & Towi'ng,`Ltd. 171 F.3d at

7 72.]_ `
we adopt a similar approach to § l4501(c) and its application to the
New York City towing laws. On the one hand, as discussed earlier,
the broad "related to" language of § 145 01(0)(1) generally preempts
economic regulation by the states within the field of intrastate towing.
On the other hand, the statutory text, Congress' aim to leave the states'
residual control over safety and other local concerns intact, and the
presumption against preemption of historic state police power,' argue
against finding preemption where only incidental economic burdens
can be discemed. In the present circumstances, where these
competing concerns collide,- we are persuaded, for reasons we will
explain in a moment, that the starting presumption against
preemption of state law has not been overcome Ace Auto Body &
Towing, Li‘a’. 171 F.3d at 774.

Although the Court found that the legislative history clearly illustrates Congress'
deregulatory purpose, they determined that the legislative history was ambiguous as to the scope
of that purpose Aui‘o Body & Towi'ng, Ltd, 171 F.3d at 776. The Court determined that, the
reports issued in connection with § 14501 suggest that its primary purpose was to eliminate local
economic regulation, not local safety regulation and referred readers to H.R. Conf. Rep. No.
103-677, at ss-s?,‘reprimed in 1994 U.s.c.C.-A.N. at i758~59.

Because the Court felt that the scope of Congress1 purpose was unclear, the Court
indicated that it was hesitant to construe the text of § 145 01 in such a manner as to frustrate
unnecessarily the ability of municipalities to respond to the local safety concerns created by local
towing industries Auto Body & fowi'ng, Li‘d. 171 F.3d at 776. Similarly, in the case at bar the

Court should be hesitant to grant the Temporary Restraining Order sought by Plaintiff, thereby

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setting aside and interfering with the counties ability to regulate the towing of trespassing
vehicles with respect to safety concerns Such hesitance, furtherrnore, is consistent with the
presumption against preemption of state and local regulations enacted under their historic police
powers Auto Body & Towing, Ltd. 171 F.3d at 776.

2. The Regulatioiis Plaintiff Complains of are Reasonably Related to Safety
` Conceriis. y

On the question of whether the licensing, display of information, criminal history
and maintenance of storage and repair facilities etc., the court found that they related directly to
safety and financial responsibility and were therefore within the Section 145 01 (c)(2)(A)
exemptions

ln addition to challenging the DARP, SARD, and ROTOW programs
generally, plaintiffs also challenge the City's specific requirements
regarding licensing, display of information, reporting, record keeping,
criminal history, insurance, posting of bond, and maintenance of

. storage and repair facilities Most of these requirements are so
directly related to safety or financial responsibility and impose so
peripheral and incidental an economic burden that no detailed
analysis is necessary to conclude that they fall within the §
14501(0)(2)(A) exemptions Ace Auto Body & Towing, Ltd. v. City cf
New York 171 F.3`d 765, 777 (C.A.2 (N.Y.),1999)

The City of New York was not the only governmental entity to wrestle with the
safety issue question In People er rel `Renne- v. Servantes, 103 Cal. R-ptr.-Z-d 870, 878 (Cal.' Ct.-
App.), petition for cert. filed, 70~U.S.L.W. 3162 (U.S. Aug. 14, 2001) (No. 0-1- 336) the
California Courts confronted at least one of the issues raised by the Plaintiff, i.e. the longer hours
of operation requirement

Nor are these the only safety problems that have required American

- cities to regulate local towing operations To reduce their costs,
towing companies increasingly demand cash-only payments from

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vehicle owners, store cars in desolate and unsafe parking facilities
and limit their hours of operation The dangers associated with
vehicle retrieval, a California court recently observed, were

` _ demonstrated by one individual who described his plight--and his
concern for his 'safety--that ensued upon his return to a private
parking lot one 'Saturday evening to find his car missing and no one in
the parking lot. [After` determining that his car was not stolen,]
Griffith took [a] taxi to the "tow yard" and, concerned about its
location, asked the taxi driver to wait with him while he retrieved his
car. Griffith went to the gate, and the person there said he could not
let him in and that he had to wait. After some 20 minutes, Griffith
"ran out of money" [and the taxi left]. Griffith waited [alone
outside] for another 45 minutes to an hour until `[the tow operator]
arrived Griffith got out his credit card, t‘o be expressly told that his
credit card "won't be accepted." People ex rel. Reime 103 Cal. Rptr.
2d at 878. To remedy these safety problems, cities have passed
ordinances requiring towing companies (l) to accept credit cards,
cash or checks for the release of towed vehicles, (2) to stay open for
extended hours, and (3) to notify the police after towing a vehicle
from private property. See, e.g., id. at 874 (San Francisco
ordinances); Tocher v. City ofSam‘a Ana, 219 F.3d 1040, 1043 (9th
Cir. 2000) (Santa Aria ordinances), cert. denied, 531 U.S. 1146
(2001).

Preemption analysis does not insist upon a least restrictive means test. For these
regulations to escape federal preemption, it is enough, in light of the text and history of §
14501(c), that the storage and repair provisions are reasonably related to the safety aspects of
towing disabled vehicles and that the economic burdens thereby imposed are only incidental.

A_ce Aui‘o Body & Towi`ng, Li‘d. 171 F.3d at 777.
3. Plaintiff Has not Establislied that Slie has no Adeqiiate Remedies at Law

Plaintiff has not established that she has exhausted her administrative remedies,`nor
has she established that no adequate remedy at law exists, in fact, the opposite is true. Plaintiff in
her Complaint for Declaratory ludgement is seeking, among other things, money damages

Clearly she believes that she has a right to money damages, which are generally considered to

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bean adequate remedy at law.
Plaintiff, in her complaint has indicated that she has suffered or will suffer
irreparable harm because she simply cannot obtain a relocator’s license. Absent from Plaintiff' s
complaint is any facts supporting said claim. Plaintiff has not alleged or established that she has
applied for a license and the license has been denied, or that she sought administrative review of
said denial
Fuithermore, Plaintiff has not established that she has a right to operate as a
relocator. The State has a recognized interest in ensuring the safety of its citizens and their
property, including individuals whose vehicles are towed without their consent
IV. CONCLUSION
Plaintiffs motion for a TRO should be_denied because the regulations complained
,of are reasonably related to the safety aspects of towing vehicles and consistent with its
longstanding tradition of allowing state and local govemments to regulate both interstate and
intrastate motor vehicle safety Congress excepted from preemption the “safety regulatory
authority of a State." 49 U.S.C. § l4501(c)(2)(A).
WHEREFORE, for the foregoing reasons, Defendants, respectfully request that

this Honorable Court deny Plaintiff s Amended Motion for Teinporary Restraining Order.

 

Respectfiilly Submitted,
LisA iviAi:)ioAN M*/Z 55 >4£‘”'7""`“
illinois Aiiomey Generai DEBORAH L. sii\/iPsoN `

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IN THE UNITED sTATEs Dis'rnicr COURT W_ _`
FoR THE NoRTHERN DisTRICr oF iLLiNoIs-`r t lt

WESTERN DIVISION ,_
itt ll 13 until 13
LAURIE RAYMOND dfb/a, ) l .
A-l TOWING, ) i_,_;hi J,ai t 1133-1131
)
_Plaintiff`, )
_ ' )
v. ) No. 03 C 50195
)
ROD R. BLAGOJEVICH, as Governor of ) Honorable Philip G. Reinhard
the State of Illinois, et al., . ) Judge Presiding
) _
Defendant(s). )
NOTICE OF FILING

TO: Terry L; `Deck, Esq.
910 Second Avenue
Freeman Square, Su_ite 300
Rockford, Illinois 61104

PLEASE TAKE NOTICE that on May 28, 2003, the attached DEFENDANT’S
RESPONSE TO PLAINTIFF’S AMENDED COMPLAINT F"OR TEMPORARY
RESTRAINING ORDER was filed with the Clerk of the United States District Court lfor the

- Northern District of lllinois, Western Division, at 211 S. Court Street, Federal Building, Rockford,
IL 61101, a copy of which is herewith served upon you.

 

Respectfully submitted,
LisA MADIGAN (DP@M£% ><L»WM/
`Attorney General of Illinois DEBORAH L. S[[\/IPSONU

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CERTIFICATE OF SERVICE

l The undersigned attorney certifies that a copy of each the foregoing documents, Defendants
Motion was served upon the above named individual by facsimile and U. S Mail on May 28, 2003.

W%W~/

 

